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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  STATE FARM MUTUAL
  AUTOMOBILE INSURANCE
  COMPANY,                                       Case No. 2:16-cv-13040
           Plaintiff,                            District Judge Avern Cohn
  v.                                             Magistrate Judge Anthony P. Patti

  ELITE HEALTH CENTERS, INC.,
  ELITE CHIROPRACTIC, P.C.,
  ELITE REHABILITATION, INC.,
  MIDWEST MEDICAL
  ASSOCIATES, INC., PURE
  REHABILITATION, INC., DEREK
  L. BITTNER, D.C., P.C., MARK A.
  RADOM, DEREK LAWRENCE
  BITTNER, D.C., RYAN MATTHEW
  LUKOWSKI, D.C., MICHAEL P.
  DRAPLIN, D.C., NOEL H. UPFALL,
  D.O., MARK J. JUSKA, M.D.,
  SUPERIOR DIAGNOSTICS, INC.,
  CHINTAN DESAI, M.D., MICHAEL
  J. PALEY, M.D., DEARBORN
  CENTER FOR PHYSICAL
  THERAPY, L.L.C., MICHIGAN
  CENTER FOR PHYSICAL
  THERAPY, INC., and JAYSON
  ROSETT
             Defendants.
 _________________________/

  ORDER DENYING NONPARTY ROBERT ROSETT’S MOTION FOR A
   PROTECTIVE ORDER PURSUANT TO FEDERAL RULE OF CIVIL
      PROCEDURE 26 AND FOR STAY OF DISCOVERY (DE 297)
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       This matter is before the Court for consideration of nonparty Robert Rosett’s

 motion for a protective order pursuant to Federal Rule of Civil Procedure 26 and

 for stay of discovery (DE 297), and State Farm Mutual’s response in opposition

 (DE 317). For the reasons set forth below, nonparty Robert Rosett’s motion is

 DENIED.

       A.      Background

       According to nonparty Robert Rosett, he learned on April 18, 2018 that he

 was the target of a Federal investigation when the FBI raided his Florida residence.

 (DE 297 at 2.) On May 17, 2018, Rosett was informed via a letter from the

 Department of Justice that he is a target of a criminal investigation being

 conducted by the FBI and a federal grand jury. (DE 297-1.) On July 16, 2018,

 Plaintiff State Farm Mutual Automobile Insurance Company (State Farm Mutual)

 served Rosett with a subpoena in this case seeking: (1) communications,

 documents reflecting business relationships/financial arrangements, and payments

 between Rosett, Defendants, and related third parties; (2) specific communications

 between Rosett and Jayson Rosett (Rosett’s son); (3) communications regarding

 police reports; (4) payments Rosett received or made for police reports; and (5)

 documents reflecting Rosett’s efforts to identify and solicit auto accident victims.

 (DE 297-2.)




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               On August 27, 2018, Rosett filed the instant motion for protective order and

 stay of discovery, seeking an order “staying discovery sought from or through him

 during the pendency of the criminal investigation against him.” (DE 297.)1

 Plaintiff State Farm Mutual filed a response in opposition to Rosett’s motion on

 September 19, 2018, arguing that Rosett’s motion should be denied because he

 cannot meet the heavy burden to stay discovery. (DE 317.)

               B.             Analysis

               “A stay of a civil case is an extraordinary remedy that should be granted

 only when justice so requires.” Chao v. Fleming, 498 F.Supp.2d 1034, 1037 (W.D.

 Mich. 2007) (citations omitted). In determining whether to grant a stay, courts

 should consider the following factors:

               1) The extent to which the issues in the criminal case overlap with those
               presented in the civil case; 2) the status of the case, including whether
               the defendants have been indicted; 3) the private interests of the
               plaintiffs in proceeding expeditiously weighed against the prejudice to
               plaintiffs caused by the delay; 4) the private interests and burden on the
               defendants; 5) the interest of the courts; and 6) the public interest.

 F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir. 2014) (citation

 omitted). “[T]he burden is on the party seeking the stay to show that there is


                                                             
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   Pursuant to the Court’s order regarding motion practice, Rosett first filed a letter
 request on July 31, 2018, seeking leave to file the instant motion. (DE 264.)
 Plaintiff State Farm Mutual filed a letter response on August 2, 2018, urging the
 Court to deny that request. (DE 271.) On August 24, 2018, the Court granted
 Rosett leave to file the instant motion. (Text-Only Order, Aug. 24, 2018.)
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 pressing needs for the delay, and that neither the other party nor the public will

 suffer harm from entry of the order.” Ohio Envtl. Council v. U.S. Dist. Court, S.

 Dist. Of Ohio, E. Div., 565 F.2d 393, 396 (6th Cir. 1977).

       The first factor—overlap between the civil and criminal cases—weighs

 against a stay because Rosett has not presented sufficient evidence that the pending

 investigation against him and this case overlap. The target letter from the

 Department of Justice does not say anything about the subject matter or scope of

 the investigation, and Rosett did not submit any other evidence that sheds light on

 the scope or substance of the criminal investigation. Rosett’s unsupported

 assertion in his motion that, “[u]pon information and belief, the criminal

 investigation … is aimed at ascertaining whether and/or to what extent” Rosett is

 “involved in a purported large-scale insurance fraud scheme” is insufficient to

 meet the heavy burden to support a stay. See Commodity Futures Trading

 Comm’n v. Watson, No. 11-10949, 2011 WL 2174904, at *2 (E.D. Mich. June 3,

 2011) (unindicted defendant “failed to demonstrate that the anticipated criminal

 issues overlap with those presented in this case” because he “has not presented any

 sworn affidavits setting forth the scope of the anticipated criminal proceedings, and

 he points to no grand jury subpoenas for himself or others that might further shed

 light on his request for a stay”).




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       The second factor also weighs against a stay. Rosett has not been indicted,

 and “where a [party] filing a motion to stay has not been indicted, the motion may

 be denied on that ground alone.” U.S. ex rel. Guzall v. City of Romulus, No. 13-

 11327, 2015 WL 4528012 (E.D. Mich. July 27, 2015); F.T.C., 767 F.3d at 628

 (“[C]ourts generally do not stay proceedings in the absence of an indictment.”).

       Further, Rosett has failed to meet his burden to show that factors three

 through six weigh in favor of granting his requested stay. Plaintiff has a strong

 interest in the timely resolution of its claims, and it is unclear how long a stay

 might last. Similarly, the Court’s interests in efficiency and judicial economy

 weigh against a stay due to the uncertainty of the criminal proceedings. The

 subpoena at issue seeks documents, not deposition testimony, and Rosett has not

 demonstrated that the act of producing these pre-existing documents would be

 incriminating. See United States v. Hubbell, 167 F.3d 552, 567 (D.C. Cir. 1999)

 (the production of pre-existing records does not implicate the Fifth Amendment

 unless the act of producing such documents in response to the document request is

 testimonial in nature). In sum, Rosett has failed to meet his burden to demonstrate

 a “pressing need” for the stay.

        C.    Order

       Based on consideration of the above factors, Robert Rosett’s motion for

 protective order and for a stay of discovery (DE 297) is DENIED, and he is


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 directed to respond to the July 16, 2018 subpoena served on him by Plaintiff State

 Farm Mutual by October 26, 2018.

       IT IS SO ORDERED.

 Dated: October 12, 2018                s/Anthony P. Patti
                                        Anthony P. Patti
                                        UNITED STATES MAGISTRATE JUDGE



                               Certificate of Service

 I hereby certify that a copy of the foregoing document was sent to parties of record
 on October 12, 2018, electronically and/or by U.S. Mail.

                                        s/Michael Williams
                                        Case Manager for the
                                        Honorable Anthony P. Patti




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